                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

                     United States of America v. Kaleem Tikori Fredericks
                                Case No. 3:16-cr-00114-TMB


By:                    THE HONORABLE TIMOTHY M. BURGESS


PROCEEDINGS:           ORDER FROM CHAMBERS

The matter comes before the Court on Defendant Kaleem Tikori Fredericks’ Motion Under
28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody
(“Motion to Vacate”) and subsequent Motion to Withdraw 2255 Claim (“Motion to Withdraw”). 1
The Motion to Withdraw came under advisement on July 15, 2020; no opposition or response to
the Motion to Withdraw was filed.

On March 2, 2020, Mr. Fredericks, proceeding pro se, concurrently filed the Motion to Vacate and
a Motion for Appointment of Counsel. 2 Mr. Fredericks seeks to vacate his conviction and sentence
based on “[t]he unconstitutional vague ruling by Supreme Court in Davis v. U.S. A Supreme Court
ruling of 5-4 in favor of the defendants.” 3 On April 8, 2020, the Court granted the Motion for
Appointment of Counsel. 4 On April 9, 2020, Attorney Jane B. Martinez entered a Notice of
Appearance on behalf of Mr. Fredericks. 5

On July 1, 2020, Fredericks, through counsel, filed the Motion to Withdraw. 6 The Motion to
Withdraw states, “Counsel has advised Mr. Fredericks of the consequences of withdrawing the
2255 motion and is satisfied that Mr. Fredericks understands the consequences of withdrawing the
2255 motion and that he has consented to do so.” 7

For good cause shown, and there being no opposition, Mr. Fredericks’ Motion to Withdraw at
docket 123 is GRANTED and his Motion to Vacate at docket 117 is DISMISSED without
prejudice. The Clerk of Court is directed to close this case.

Entered at the direction of the Honorable Timothy M. Burgess, United States District Judge.

DATE: July 15, 2020.



1
  Dkts. 117 (Motion to Vacate), 123 (Motion to Withdraw).
2
  Dkts. 117, 118 (Motion for Appointment of Counsel).
3
  Dkt. 117 at 2.
4
  Dkt. 121 (Order).
5
  Dkt. 122 (Notice of Appearance).
6
  Dkt. 123.
7
  Id. at 1.
                                               1

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